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 8                             UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11   MEL MARIN,                                           Case No.: 21-cv-01445-JLS-LL
12                                       Plaintiff,
                                                          ORDER ON PLAINTIFF’S EX
13   v.                                                   PARTE MOTIONS FOR
                                                          EXTENSION OF TIME AND TO
14   KRISTINE CATANO, et al.,
                                                          EXTEND TIME TO SERVE
15                                    Defendants.         COMPLAINT
16
                                                          [ECF Nos. 9; 11]
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18            Presently before the Court is pro se Plaintiff Mel Marin’s ex parte motion for an
19   extension of the deadline to file an amended complaint. (ECF No. 9.) Plaintiff represents
20   that he requires additional time to file an amended complaint because of postal delays in
21   receiving the Court’s August 23, 2021 Order screening the Complaint and closure of the
22   county law library. (See ECF No. 9.) However, in a separate case wherein Plaintiff filed
23   an identical ex parte motion to the instant motion, Marin v. Carroll, 21-cv-01453-JLS-
24   DEB, Plaintiff represents that the county law library is now open. (21cv1453, ECF No. 12
25   at 1.)
26   ///
27   ///
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 1         Good cause appearing, Plaintiff’s request for an extension of time to file an amended
 2   complaint is hereby GRANTED. Plaintiff shall have until fourteen days from the date of
 3   this Order to file an amended complaint.1
 4         Also before the Court is Plaintiff’s ex parte motion for an extension of time “to serve
 5   the complaint to a point after [he] amends his complaint to avoid dismissal for failure to
 6   serve.” (ECF No. 11 at 1.) Because Plaintiff is proceeding in forma pauperis, and this
 7   case has not yet survived screening pursuant to 28 U.S.C. § 1915(e)(2), Plaintiff’s request
 8   for additional time to serve any amended complaint is hereby DENIED as premature. See
 9   also Butler v. Nat’l Cmty. Renaissance of Cal., 766 F.3d 1191, 1204 n.8 (9th Cir. 2014)
10   (noting that “[o]ther federal circuit courts of appeals have held that the [90]-day service
11   period is tolled until the court screens a plaintiff’s in forma pauperis complaint and
12   authorizes service of process”).
13         IT IS SO ORDERED.
14   Dated: November 3, 2021
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            The Court notes that Plaintiff filed an Amended Complaint (“FAC”) on the same
26   day that the Court issued its August 23, 2021 Order screening the Complaint. (ECF Nos.
27   6; 7.) Because Plaintiff filed the FAC before having the benefit the August 23, 2021 Order,
     justice so requires that the Court give Plaintiff leave to amend the FAC in accordance with
28   that Order. See Fed. R. Civ. P. 15(a)(2).

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